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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

JUSTINE RICHARDSON,
Plaintiff,

Vv. Case No.
STATE OF ALASKA;

STATE OF ALASKA DEPARTMENT OF
CORRECTIONS; CITY OF KODIAK;
KODIAK POLICE DEPARTMENT;

OFFICER JEWELL TORREJAS,
DETECTIVE MICHAEL SORTOR,

KODIAK POLICE DEPARTMENT CHIEF OF
POLICE RHONDA WALLACE,

JOHN DOES 1-10;

Defendants.

Neer? Nae Neer eee Ne Ne Nee Nee Nec Ne Nee” Nee Nee ee ee Nee ee” Ne”

 

COMPLAINT AND
JURY DEMAND

COME NOW Plaintiff JUSTINE RICHARDSON, by and through counsel Phillip Paul
Weidner of Phillip Paul Weidner & Associates, APC; and hereby state, claim, plead and allege
as her cause(s) of action in the instant matter, as follows.

1. NATURE OF ACTION
1. This action seeks relief for violations of Plaintiff JUSTINE RICHARDSON’S right to
due process, to be free from excessive and/or unnecessary force and seizure guaranteed
by the United States Constitution, including the 4" Amendment, 5" Amendment, and the

14" Amendment to the U.S. Constitution, 42 U.S.C. §1983, and the comparable

 

Suit is being brought on behalf of Justine Richardson in order to protect her rights given the
statute of limitations Undersigned counsel and his firm have not executed a fee agreement with
Justine Richardson and will be seeking to withdraw from representation.

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provisions of the Alaska Constitution and Statutes, the United States of America
Common Law and Alaska Law.

2. The culpable acts of the Defendants directly caused JUSTINE RICHARDSON to suffer
physical and emotional and economic injury, loss of liberty, and injuries to her, including
her constitutional, statutory, and common law rights.

II. PARTIES

3. Plaintiff JUSTINE RICHARDSON was in the State of Alaska at the time of the events
complained of here.

4. Defendant CITY OF KODIAK is located within the State of Alaska. It is responsible for
the policies, procedures, and practices and conduct implemented through its various
agencies, agents, departments, and employees, and for injury occasioned thereby.

5. Defendant KODIAK POLICE DEPARTMENT is an agency of the City of Kodiak and at
all times relevant, employed the Defendant Officers.

6. Defendant STATE OF ALASKA DEPARTMENT OF CORRECTIONS is a unit and/or
agent of Defendant STATE OF ALASKA. Defendants State of Alaska and State of
Alaska Department of Corrections are hereinafter collectively referred to as “Alaska |
DOC.” Alaska DOC is responsible for the policies, procedures, and practices
implemented through its various agencies, agents, departments, and employees, and for
injury occasioned thereby. Upon information and belief, the City of Kodiak and/or
Kodiak Police Department, contracts with the Alaska DOC to operate the Kodiak City

Jail.

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7. Defendants KODIAK POLICE DEPARTMENT CHIEF OF POLICE RHONDA
WALLACE, OFFICER JEWELL TORREJAS, DETECTIVE MICHAEL SORTOR, are
and/or were, at the time of the events referred to herein, upon information and belief,
agents and/or employees of the City of Kodiak and/or Kodiak Police Department and/or
State of Alaska and/or Alaska DOC and were and/or are residents of the State of Alaska
and/or acting under color of law and/or acting in a culpable fashion in the State of
Alaska, so as to subject them to the jurisdiction of this Court. The City of Kodiak and/or
Kodiak Police Department and/or State of Alaska and/or Alaska DOC are responsible
and/or vicariously liable for the acts of Chief of Police Rhonda Wallace, Officer Torrejas,
Det. Sortor, acting as their agents and for failure to adequately train and supervise said
defendants in the arrest of Justine Richardson on or about January 31, 2015 and her
detention at Kodiak City Jail, and the other actionable claims herein.

8. Plaintiffs have named Alaska DOC as defendants in order to preserve the statute of
limitations as it appears that Alaska DOC may have employed corrections officers and/or
had contracts with the other Defendants and thus may be liable for Plaintiffs’ injuries and
damages.

9, DEFENDANTS John Does 1-10 are officers, agents and/or employees of the City of
Kodiak and/or Kodiak Police Department and/or State of Alaska and/or State of Alaska
Department of Corrections, and said John Doe defendants and named defendants acted
under color of law of the State of Alaska and /or City of Kodiak, and or the United States
and their culpable conduct, acts, and/or omissions were done while the defendants were

within the scope of their duties for the City of Kodiak and/or State of Alaska.

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Furthermore, said actions were pursuant to the policies, customs and practices of the City
of Kodiak and/or State of Alaska.

10. Defendants State of Alaska, State of Alaska Department of Corrections, City of Kodiak,
Kodiak Police Department, Chief of Police Rhonda Wallace, Officer Jewell Torrejas, and
Detective Michael Sortor, and John Does 1-10 are collectively referred to as
“Defendants.”

Il. FACTS COMMON TO ALL COUNTS OF THE COMPLAINT

11. On or about January 31, 2015, Plaintiff JUSTINE RICHARDSON was arrested and taken
into custody by officers employed by and/or contracted by the State of Alaska, State of
Alaska DOC, City of Kodiak and/or Kodiak Police Department, including Officer Jewell
Torrejas, Det. Michael Sortor.

12. Prior to her arrest, in the days and/or weeks prior thereto, Justine Richardson was at her
residence in Kodiak when Kodiak Police Officers damaged the security cameras of the
residence, while attempting to execute an arrest of Disa Robison, the owner of the
residence, pursuant to an arrest warrant. Conduct by the Kodiak Police Officers included
climbing onto the roof of the residence and banging on windows. Justine Richardson was |
terrified.

13. After those events, Justine Richardson posted video of the conduct onto social media in
Kodiak.

14. Upon information and belief, certain members of the Kodiak community viewed the

video and/or were aware of it and the circumstances of the conduct.

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15. On the evening of January 31, 2015, Justine Richardson was in a vehicle with Disa
Robison when they were stopped by Kodiak Police Department officials.

16. Apparently, there was an outstanding arrest warrant for Disa Robison. There was no
reason to hold Justine Richardson or take her into custody, or to arrest her, however, she
was arrested along with Disa Robison. Upon information and belief, one of the Officers
was present at the arrest of Justine Richardson had been involved in the incident where
the security cameras were smashed. Det. Michael Sortor was upset that Richardson had
posted the video on social media and communicated his anger to her.

17. Justine Richardson was informed that she was being charged and taken to the Kodiak
Jail. However, she was under the belief that she would only be charged with a
misdemeanor, based on representation(s) by Alaska Trooper Simmons.

18. Richardson’s mother went to the jail to bail out Richardson. Det. Sortor, in anger, said
that Richardson was being charged with a felony and that Richardson would have to
spend the night in jail, that she would not be bailable. Richardson’s mother was told to
leave.

19. Richardson was directed to undress in the shower area, to dress out into inmate attire. A
female officer supervised her. During the dress out, a male voice came over the
loudspeaker and directed the female officer to ask Richardson to bend over and cough.
At this point, Richardson was in a state of near to complete undress.

20. Richardson became very distressed and began crying. She quickly grabbed the jail
clothing and threw them on. The female officer yelled, in effect, that Richardson was

“not cooperating.” The doors opened and 4 men came in, told Richardson to take her

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clothes off (these 4 men included Det. Sortor and Officer Torrejas). They grabbed her
clothing and tried to take it off. Richardson was crying and screaming. Another
corrections officer entered and screamed at the officers to stop. This was Officer Alex
Alvarado. He directed Richardson to a private cell where she stayed the night.

21. The next morning, the Chief of Police entered Richardson’s cell and said, in effect, “I
heard you had a really rough night.” The Chief of Police told Richardson that she was
free to leave. Richardson asked for her discharge papers. Richardson was informed that
there were no discharge papers. The Chief of Police told Richardson to leave the
premises.

22. Richardson’s mother had attempted to learn what happened to Richardson. She was
informed that Richardson was not at the jail (when she was).

23. Richardson was not charged in connection with her arrest.

24, Richardson sustained significant physical, emotional, and economic injuries as a result of

the matters described herein.

COUNT ONE
42 U.S.C. §1983
FOURTH, FIFTH AND FOURTEENTH AMENDMENT VIOLATIONS
25. Plaintiff realleges and incorporates paragraphs 1-24 as though fully set forth herein.
26. At all relevant times, Justine Richardson possessed a right under the Fourth, Fifth and
Fourteenth Amendments to the U.S. Constitution, to due process and/or to be free from
excessive and/or unnecessary force and unreasonable searches and seizure.

27. At all relevant times, the City of Kodiak, Kodiak Police Department, Kodiak Police
Department Officers (Chief of Police Rhonda Wallace, Officer Torrejas, Det. Sortor), and
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John Doe Defendants accomplished an unlawful result through individual and/or
concerted action, in that they agreed to and/or did, through explicit or implicit means, to
violate Plaintiff's right to due process and/or to be free from excessive and/or
unnecessary force and unreasonable searches and seizure, provided in the Fourth, Fifth,
and Fourteenth Amendments to the U.S. Constitution.

28. In furtherance of said agreement, said Defendants, as described herein, unlawfully,
unreasonably, deliberately, arrested Richardson, took her into custody at Kodiak City Jail
and violently assaulted and attacked and restrained the Plaintiff, causing her injuries.

29. Said Defendants’ individual and/or concerted action, as described above, violated the
Plaintiff's right to due process and/or to be free from excessive and/or unnecessary force
and unreasonable searches and seizure, provided in the Fourth, Fifth, and Fourteenth
Amendments to the U.S. Constitution, and has caused her to suffer, and to continue to
suffer damages, including physical and emotional injury, pain, mental anguish, and
emotional distress.

30. At all relevant times hereto, said Defendants were acting under color of law, and their
individual and/or concerted conduct as described hereinabove was unreasonable and |
without any lawful justification.

COUNT II
42 U.S.C. §1983
FOURTEENTH AMENDMENT VIOLATION- DUE PROCESS CLAUSE
(CONSPIRACY)
31. Plaintiff realleges and incorporate paragraphs 1-30 as though fully set forth herein.
32. At all relevant times, Plaintiff possessed a right under the Fourteenth Amendment to the

U.S. Constitution, to due process of law.

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33. At all relevant times, the City of Kodiak, Kodiak Police Department, Kodiak Police
Department Officers (Chief of Police Rhonda Wallace, Officer Torrejas, Det. Sortor), and
John Doe Defendants accomplished an unlawful result through individual and/or
concerted action, in that they agreed, through explicit or implicit means, to violate
Plaintiff's right to due process by unlawfully and unreasonably arresting, detaining,
and/or deliberately arresting, imprisoning, restraining, seizing, and physically injuring
Plaintiff and inflicting psychological pain on Plaintiff.

34. In furtherance of said agreement, said Defendants unlawfully, unreasonably, deliberately,
arrested, detained, and/or assaulted the Plaintiff, causing her injuries.

35. Said Defendants’ individual and/or concerted conduct, as described above, violated
Plaintiff's right to due process as set forth in the Fourteenth Amendment to the U.S.
Constitution, and has caused the Plaintiff to suffer damages, including physical and
emotional injury, pain, mental anguish, and emotional distress.

COUNT III
42 U.S.C. §1983
FOURTEENTH AMENDMENT- EQUAL PROTECTION

36. Plaintiff realleges and incorporates paragraphs 1-35 as though fully set forth herein.

37, At all relevant times, the Plaintiff possessed a right under the Fourteenth Amendment to
the Constitution of the United States to equal protection of the law.

38. At all relevant times, the City of Kodiak, Kodiak Police Department, Kodiak Police
Department Officers (Officer Torrejas, Det. Sortor), and John Doe Defendants

accomplished an unlawful result through individual and/or concerted action, in that they

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agreed, through explicit or implicit means, to violate Plaintiff's right to equal protection
of the law by intentionally discriminating against Plaintiff on the basis of her gender.

. In furtherance of said agreement, said Defendants unlawfully, unreasonably, deliberately,
and assaulted and/or restrained the Plaintiff, causing her injuries, while she was in
custody.

. After a reasonable opportunity for further investigation or discovery, there will likely be
evidentiary support that male officers arrested and processed at the jail are not subjected
to similar physical assault and/or restraint by officers while in custody.

. There was no legitimate, important, or necessary governmental, law enforcement or
safety objective for said Defendants to treat the Plaintiff in a significantly different
manner than similarly situated males, based on her gender.

. Said Defendants’ individual and/or concerted conduct, as described herein, violated the
Plaintiff's right to equal protection as provided in the Fourteenth Amendment to the U.S.
Constitution and has caused her to suffer and continue to suffer, damages, including
personal and pecuniary injuries.

. At all time relevant hereto, said Defendants were acting under color of law, and their |

individual and/or concerted conduct as described herein was intentional and/or done with

a conscious, callous, and deliberate indifference to the Plaintiff's constitutional rights to

equal protection and in a manner that shocks the conscience.

COUNT IV
42 U.S.C. §1983

VIOLATION OF PLAINTIFF’S ALASKA CONSTITUTIONAL RIGHTS, ARTICLE 1,

SECTIONS 7 AND 14

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44, Plaintiff realleges and incorporates paragraphs 1-43 as though fully set forth herein.

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45. The City of Kodiak, Kodiak Police Department, Officer Torrejas, Chief of Police
Wallace, Det. Sortor, and John Does 1-10 are liable for all damages due under 42 U.S.C.
§1983 for violating her State Constitutional rights, Article 1, Sections 7 and 14 and the
common law.

COUNT V
MONELL ACTION AGAINST THE CITY OF KODIAK AND KODIAK POLICE
DEPARTMENT

46. Plaintiff realleges and incorporates paragraphs 1-45 as though fully set forth herein.

47. The City of Kodiak and Kodiak Police Department caused the Plaintiff to suffer
deprivations of federal and state constitutional rights described in the Counts above.
Those actions were allowed, approved and/or ratified by Defendants Officer Torrejas,
Det. Sortor, Chief of Police Wallace, and John Doe Defendants, with respect to law
enforcement policy. These Defendants’ culpable actions foreseeably resulted from the
City of Kodiak and Kodiak Police Department’s deliberate indifference to the need to
adequately train and/or supervise and/or establish and enforce police practices,
procedures, policies and/or customs and equipping police officers adequately to deal with
an altercation or potentially hostile situation without resorting to excessive/lethal force.

48. Thus, the City of Kodiak and Kodiak Police Department Defendants are liable under 42
U.S.C. §1983 for the violation and deprivation of Plaintiffs’ constitutional rights under
color of law by virtue of their actions pursuant to the official policy or ‘custom of the
defendant City of Kodiak and/or Kodiak Police Department by and through their

employees, agents, and servants.

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49. Defendants City of Kodiak and Kodiak Police Department failed to properly or
adequately train and/or supervise the John Doe Defendants.

50. The failure to do so, given prior unethical, improper, and/or unconstitutional acts by City
of Kodiak and Kodiak Police Department officers and/or agents and/or employees
amounting to excessive force, and the knowledge of a continuing course of such conduct,
amounts to a deliberate indifference to the civil rights of Plaintiff JUSTINE
RICHARDSON as well as an indifference to the rights of other citizens and the
community at large, and constitutes an official and/or de facto policy of the City of
Kodiak and/or Kodiak Police Department approving and/or condoning and/or ratifying
the improper acts and omissions of its agents and employees.

51. The City of Kodiak and Kodiak Police Department’s actions and deliberate indifference
caused the Plaintiff to suffer loss of liberty and great physical, emotional and economic
injury. Said Defendants are therefore liable to the Plaintiff for compensatory damages,
under 42 U.S.C. § 1983.

COUNT VI
42 U.S.C. §1983
DAMAGES

52. Plaintiff realleges and incorporates paragraphs 1-51 as though fully set forth herein.

53. The City of Kodiak, and Kodiak Police Department are liable for all damages due to
Plaintiff Justine Richardson for 42 U.S.C. §1983 violations by them and their officers,
including Officer Torrejas, Det. Michael Sortor, Chief of Police Wallace, and for their

own violations in training, supervision, etiquette, procedures, and customs and policies
and practices as set forth in this Complaint.
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COUNT VII
STATE LAW CLAIM- INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

54. Plaintiff realleges and incorporates paragraphs 1-53 as though fully set forth herein.

55. At all times relevant hereto, the State of Alaska, State of Alaska DOC, City of Kodiak,
Kodiak Police Department, and Officer Torrejas, Det. Sortor, Chief of Police Wallace,
and John Doe Defendants intentionally and deliberately inflicted emotional distress on
Plaintiff Justine Richardson by outrageous culpable acts and deliberate indifference and
by abusing the lawful process by unlawful purposes by violating Plaintiffs constitutional
rights.

56. Said Defendants’ conduct was extreme and outrageous, beyond all possible bounds of
decency.

57. As a direct and proximate result of said Defendants’ intentional, outrageous and extreme
acts, Plaintiff suffered and continues to suffer psychological and emotional distress,
humiliation, embarrassment, and mental and emotional trauma.

COUNT VII
STATE LAW CLAIM- FALSE ARREST AND/OR IMPRISONMENT

58. Plaintiff realleges and incorporates paragraphs 1-57 as though fully set forth herein.

59.The Defendants acts constitute false arrest and/or false imprisonment, and/or
unreasonable and unconstitutional seizure under State Law for which the Defendants are
liable directly and/or vicariously liable.

COUNT IX
STATE LAW CLAIM- NEGLIGENCE

60. Plaintiff realleges and incorporates paragraphs 1-59 as though fully set forth herein.

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61. The Defendants breached their duty to exercise reasonable care to not engage in
excessive force and/or unreasonable search and seizure. In doing so, they violated
Plaintiff's rights under the U.S. and Alaska Constitutions and Alaska and U.S. common
laws as alleged herein. Officer Torrejas, Det. Sortor, and Chief of Police Wallace did so
in the course and within the scope of their duties as employees of the Alaska DOC, City
of Kodiak and/or Kodiak Police Department.

62. The Defendants are therefore liable to compensate the Plaintiff for the damages described

above, and punitive damages as set out below.

COUNT X
STATE LAW CLAIM- ASSAULT AND BATTERY

63. Plaintiff realleges and incorporates paragraphs 1-62 as though fully set forth herein.

64. The actions of State of Alaska, State of Alaska DOC, Officer Torrejas and Det. Sortor
constituted the tort of assault and battery and as a direct and foreseeable result, inflicted
physical injury, severe emotional distress and suffering, physical suffering, and the
plaintiff continues to suffer as a result of same.

65. Said Defendants are therefore liable to compensate the Plaintiff for the damages

described above, and punitive damages as set out below.

COUNT XI
STATE LAW CLAIM- TORT OF OUTRAGE

66. Plaintiff realleges and incorporates paragraphs 1-65 as though fully set forth herein.
67. The actions of Officer Torrejas and Det. Sortor constituted the tort of outrage and as a
direct and foreseeable result, inflicted physical injury, severe emotional distress and

suffering, physical suffering, and the plaintiff continues to suffer as a result of same.

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68. Said Defendants are therefore liable to compensate the Plaintiff for the damages

described above, and punitive damages as set out below.

COUNT XII
STATE LAW CLAIM- INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

69. Plaintiff realleges and incorporates paragraphs 1-68 as though fully set forth herein.

70. The intentional actions of Officer Torrejas and Det. Sortor caused severe emotional
distress and the plaintiff continues to suffer as a result of same.

71. Said Defendants are therefore liable to compensate the Plaintiff for the damages

described above, and punitive damages as set out below.

COUNT XIII

STATE LAW CLAIM- NEGLIGENT ENTRUSTMENT/NEGLIGENT
HIRE/NEGLIGENT SUPERVISION/NEGLIGENT TRAINING

72. Plaintiff realleges and incorporates paragraphs 1-71 as though fully set forth herein.

73. The actions of State of Alaska, State of Alaska DOC in hiring Officer Torrejas and Det.
Sortor, and Chief of Police Wallace, were negligent, reckless and wanton and were
undertaken with a deliberate disregard for the rights and safety of the arrestees and/or

inmates, including the plaintiff herein, and call for the imposition of both compensatory |

and punitive damages.

COUNT XIV
STATE LAW CLAIM- VICARIOUS LIABILITY

74. Plaintiff realleges and incorporates paragraphs 1-73 as though fully set forth herein.
75. At all times pertaining hereto, State of Alaska employees and/or agents described herein

were acting pursuant to, or in accordance with or incidental to their duties and

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responsibilities with the State of Alaska Department of Corrections, rendering the State

of Alaska liable for damages caused by same.

COUNT XV
PUNITIVE DAMAGES

76. Plaintiff realleges and incorporates paragraphs 1-75 as though fully set forth herein.

77. The conduct of each of the Defendants, persons, and/or persons acting with them,
individually, jointly and severally was willful, wanton, reckless and with reckless
indifference and/or in deliberate disregard of the foreseeable consequences and the
interests of other persons, and of the Plaintiff's Constitutional, statutory, and/or common
law rights under Federal and/or State law, and calls for the imposition of punitive
damages against all said Defendants individually, jointly and severally who are subject to
same under the law in an appropriate amount to chill and deter such conduct in the future,
with due regard to the nature of the culpable conduct at issue, and harm to Plaintiff, and

the net worth of the respective Defendants.

WHEREFORE, the Plaintiff seeks the following relief:
a. On behalf of Plaintiff, compensatory damages in excessive of $100,000 from the |.
Defendant(s), jointly and severally;
b. For punitive damages against each Defendant from which such damages are
allowable by law in an appropriate amount;

c. For appropriate prejudgment and post-judgment interest in the maximum amount

allowable by law;

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d. An award of costs, attorneys’ fees and expenses against the Defendants City of
Kodiak and Kodiak Police Department and the individually named defendants, and each of them,

pursuant to 42 U.S.C. § 1983, and Alaska law;
e, Interest, and other relief as the Court may deem just and equitable;

f. A trial by jury under the Plaintiff's United States and Alaska Constitutional rights

to same with respect to all claims.

JURY DEMAND

Plaintiff requests a trial by jury.

A

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RESPECTFULLY SUBMITTED this76 day of January, 2017.

WEIDNER & ASSOCIATES, APC

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Phillip Paul Weidner, ABA 7305032
943 West Sixth Avenue, Suite 300
Anchorage, AK 99501

Attorney for Plaintiff

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